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CENTRAL DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION
UNITED STATES OF AMERICA, ) Case No. SA CR 12-00251-CJC

ORDER OF DETENTION AFTER
HEARING [Fed. R. Crim. P. 32.1(a)(6);18
U.S.C. . § 3143(a)]

Plaintiff,
v.
LORIE CATHERINE BECK,

Defendant.

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The defendant having been arrested in this District pursuant to a warrant issued by
the United States District Court for the Central District of California for alleged violations
of the terms and conditions of her supervised release; and

The Court having conducted a detention hearing pursuant to Federal Rule of
Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),

The Court finds that:

A. (X) The defendant has not met her burden of establishing by clear and convincing

evidence that she is not likely to flee if released under 18 U.S.C. § 3142(b) or (c).

This finding is based on:

Instant allegations indicate lack of amenability to supervision; lack of bail resources.

and

 

 
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B. (X) The defendant has not met her burden of establishing by clear and convincing
evidence that she is not likely to pose a danger to the safety of any other person or
the community if released under 18 U.S.C. § 3142(b) or (c). This finding is based on:
Criminal history, instant allegations indicate lack of amenability to supervision.

IT THEREFORE IS ORDERED that the defendant be detained pending further
revocation proceedings.

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Dated:

 

 

DOUGLAS. McCORMICK
United States Magistrate Judge

 

 
